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AO 9l (Rev, 08/09) Criminal Complaint

UNITED STATES DISTRICT CoURT l§§gg;§;§i§y;w§gg»y

 

for the ED
Southern District of Texas ' AUG °' 6 2913
United States of America ) §§tr‘lni j §rad;lej§g §l»&til€
v. )
Roberto vii_LAsENoR ) ease No. M ~ / S" /5?2 ' A/\
(YOB: 1974; llée-X'icd) ) .
‘\.B l\»~l\e¢) 55€355 )
' )
Defendant(s)
CRIMINAL COMPLAINT

l, the complainant in this case, state that the following is true to the best of my knowledge and belief

 

 

On or about the date(s) of August 5, 2018 in the county of ' Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Coa’e Sectz'on Ojfense»DeScription
21 USC Section 841 Knowing|y and intentionally possess With the intent to distribute

approximately 58.1 kilograms of methamphetamine a Schedule ll controlled
substance in violation of 21 United States Code Section 841.

This criminal complaint is based on these facts:
SEE ATTACHN|ENT “A"

EZ( Continued on the attached sheet

i.>,»mw' ”

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A/M

Rvan l\/lcTaqqart Special Aqent HSl
Prz'nted name and title

 
   

fomplainant ’S Sl'gnature

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legalized/8 /£@CL.-e/e
. 5 d. ? g d w\ Judge'S signature /

City and state: l\/chllen, Texas Peter E. Ormsby United States l\/lagistrate Judge
Prz'med name and title

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AFFIDAVIT

On August 5, 2018, Roberto VILLASENOR (hereafter referred to as FLORES-Olmos), the
driver, and sole occupant, of a Chevrolet truck bearing Texas license plates presented himself for
admission at the Hidalgo, Texas, Port of Entry.

When questioned by the Customs and Border Protection Officer, VILLASENOR stated the
Chevrolet truck VILLASENOR Was traveling in belonged to VILLASENOR.

Customs and Border Protection Off`icers referred VILLASENOR for secondary inspection and,
during secondary inspection, approximately fifty-eight (58.1) kilograms of methamphetamine
Was discovered concealed inside the tires of the vehicle ,

All four tires of the vehicle contained methamphetamine and the methamphetamine Was
concealed by metal attached to the rims of the vehicle

VILLASENOR Was advised of VILLASENOR’$ Miranda rights and VILLASENOR Stated
VlLLASENOR did not vvish to speak With Special Agents Without an attorney present.

After VILLASENOR stated VILLASENOR Would not answer questions from agents, and
vvithout being questioned further by agents, VILLASENOR stated VILLASENOR had
previously been encountered While driving a vehicle Which Was found to contain marijuana _

VILLASENOR stated during the previous encounter, VILLASENOR vvas driving a vehicle
Which VILLASENOR had borrowed but on the date of this encounter VILLASENOR Was
driving a vehicle Which belonged to VILLASENOR.

Record checks confirmed VILLASENOR vvas encountered on June 14, 2017 With approximately
thirty-nine (39.38) kilograms of marijuana

VILLASENOR also stated VILLASENOR Was previously incarcerated in l\/lexico for
approximately fourteen (14) years, after VILLASENOR Was arrested for murder in Mexico.

